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 AO 91 (Rev. 11/11) Criminal Complaint
                                         UNITED STATES DISTRICT COURT
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                                                                            AUSA James P. Durkin (312) 353-6630
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                                         NORTHERN DISTRICT OF ILLINOIS
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                                              EASTERN DIVISION                     THOMA.SDG
                                                                                           IS T R IC T COURT
                                                                                CLERK, U.S
 UNITED STATES OF AMERICA

                         v.
                                                        CASE NUMBER:
                                                                              20 CR 260
 TIMOTHY O'DONNELL

                                             CRIMINAL COMPLAINT

       I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about May 30, 2020, at Chicago, in the Northern District of Illinois, Eastern Division, and elsewhere,
the defendant(s) violated:
      Code Section                                    Offense Description
      Title 18, United States Code, Section           did knowingly, intentionally, and maliciously damage,
      844(i)                                          and attempt to damage and destroy, by means of fire,
                                                      a vehicle and other real property used in interstate
                                                      commerce and in an activity affecting interstate
                                                      commerce, specifically, a Chicago Police Department
                                                      vehicle.

    This criminal complaint is based upon these facts:
      X   Continued on the attached sheet.
                                                           /s/ Ryan Furman
                                                           RYAN FURMAN
                                                           Special Agent, Federal Bureau of Investigation
                                                           (FBI)

Pursuant to Fed. R. Crim. P. 4.1, this complaint is presented by reliable electronic means. The above-named
agent provided a sworn statement attesting to the truth of the foregoing affidavit by telephone.

 Date: June 2, 2020
                                                                          Judge’s signature

 City and state: Chicago, Illinois                      MATTHEW F. KENNELLY, U.S. District Judge
                                                                  Printed name and title
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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF ILLINOIS

                                    AFFIDAVIT

      I, Ryan Furman, being duly sworn, state as follows:

BACKGROUND

      1.     I am a Special Agent with the Federal Bureau of Investigation (FBI),

and have been so employed for more than four years. I am currently assigned to the

Chicago Field Office, West Resident Agency Squad CT-2. As part of my duties as a

FBI Special Agent, I investigate criminal violations related to domestic terrorism and

violent crime. I have been involved with various electronic surveillance methods, the

debriefing of subjects, informants, and witnesses.

      2.     This affidavit is submitted in support of a criminal complaint alleging

that TIMOTHY O’DONNELL has violated Title 18, United States Code, Section

844(i). Because this affidavit is being submitted for the limited purpose of

establishing probable cause in support of a criminal complaint charging O'DONNELL

with causing damage by fire to a Chicago Police Department vehicle used in interstate

commerce and in an activity affecting interstate commerce, I have not included each

and every fact known to me concerning this investigation. I have set forth only the

facts that I believe are necessary to establish probable cause to believe that the

defendant committed the offense alleged in the complaint.

      3.     This affidavit is based on my personal knowledge, my review of records,

interviews conducted by law enforcement agents and officers, my review of
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photographs and video recordings, and information provided to me by other law

enforcement agents and from persons with knowledge regarding relevant facts.

FACTS ESTABLISHING PROBABLE CAUSE

      4.     On or about May 30, 2020, an individual, later identified as defendant

TIMOTHY O’DONNELL, approached a Chicago Police Department (“CPD”) vehicle

parked on the 200 block of North State Street in Chicago. A video provided to law

enforcement by a witness captured the events described below. The video initially

shows O’DONNELL, who was wearing a “joker” mask that partially covered his face,

hold a lit object and place it in the gas tank of the CPD vehicle. A photograph below

taken by a witness shows O’DONNELL handling the CPD vehicle’s gas tank.




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      5.     Based on my review of the video, as a result of O’Donnell’s actions, the

CPD vehicle ignited in flames. A photograph taken by a witness depicts the vehicle

in flames:




      6.     Another photograph taken from the scene shows O’Donnell posing in

front of the burning CPD vehicle. In the photograph, a distinct tattoo of the word

“PRETTY” is visible on the front of O’DONNELL’s neck.




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      7.     A CPD photo of O’DONNELL, shown below, depicts the same tattoo of

“PRETTY” in capital letters across the front of his neck.




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      8.     On or about June 1, 2020, law enforcement officers spoke with a family

member of O’DONNELL’s, who confirmed that he/she paid rent for an apartment on

the 700 block of 19th Place in Chicago, where O’DONNELL lives in a room inside the

residence.

      9.     On or about June 2, 2020, law enforcement obtained a search warrant

for the apartment and subsequently conducted a search of the apartment. While the

physical location to be searched was correctly described in writing as part of




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Attachment A to the search warrant, Attachment A mistakenly contained a

photograph that depicted a different residence. Pursuant to the search, law

enforcement recovered a “joker” mask from a bedroom inside the apartment that is

consistent with the mask shown in the photographs above. Law enforcement placed

O’DONNELL under arrest at the apartment.

      10.    After his arrest on June 2, 2020, O’DONNELL waived his Miranda

rights and agreed to an interview with law enforcement. During the interview,

O’DONNELL admitted that he was the person wearing the “joker” mask in the photos

depicted above.

      11.    Based on information provided to me by CPD, the CPD vehicle is the

property of the City of Chicago government, which is self-insured. Both the CPD and

City of Chicago government conduct business in interstate commerce, for instance by

purchasing vehicles and other equipment and supplies in interstate commerce. The

activities of the CPD and the City of Chicago government in enforcing laws also affect

interstate commerce.




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CONCLUSION

      12.   Based on the above information, I respectfully submit that there is

probable cause to believe that TIMOTHY O’DONNELL committed the offense of

causing damage by fire to a Chicago Police Department vehicle used in interstate

commerce and in an activity affecting interstate commerce, in violation of Title 18,

United States Code, Section 844(i).


                                      FURTHER AFFIANT SAYETH NOT.

                                      /s/ Ryan Furman
                                      RYAN FURMAN
                                      Special    Agent,    Federal     Bureau     of
                                      Investigation


SUBSCRIBED AND SWORN to before me on June 2, 2020.


Honorable MATTHEW F. KENNELLY
United States District Judge




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